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                         IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF OKLAHOMA


   (1) ATALIE HAMIL, an individual, )
                                                )
          Plaintiff,                            )
                                                )
   v.                                           )         Case No. 17-cv-669-CVE-FHM
                                                )
   (1) METROPOLITAN GROUP                       )
   PROPERTY AND CASUALTY                        )
   INSURANCE COMPANY, a Foreign                 )
   For-Profit Corporation, and                  )
   (2) JOHN DOE, a business entity, and         )
   (3) JANE DOE, an individual,                 )
                                                )
          Defendants.                           )


                        STIPULATION OF DISMISSAL WITH PREJUDICE


          COME NOW the attorneys of record for all parties and hereby stipulate and agree that the

   above-captioned cause may be dismissed with prejudice to further litigation pertaining to all

   matters involved herein, and state that a compromise settlement covering all claims has been made

   between and among the parties, with each party to bear his or its own attorney fees and costs.

          Said parties hereby request the Court Clerk show this action as dismissed with prejudice

   pursuant to this stipulation.




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                                      Respectfully submitted,



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